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                               IN THE UNITED STATES DISTRICT COURT
                                FOR NORTHERN DISTRICT OF ILLINOIS
                                         EASTERN DIVISION

FLAVA WORKS, INC.,                                   )
                                                     )         Case No. 2017 cv 1171
         Plaintiff,                                  )
                                                     )
-v-                                                  )         Hon. Ronald Gettleman
                                                     )
SALSAINDY, LLC, &                                    )
MARQUES GUNTER,                                      )
                                                     )
         Defendants.                                 )

                           JOINT MOTION TO CONTINUE DEADLINE FOR
                           DEFENDANTS’ SUMMARY JUDGMENT MOTION

         Plaintiff Flava Works, Inc., through undersigned counsel, brings this motion jointly with

Defendants Salsaindy, LLC and Marques Gunter, asking the Court to continue the deadline for Defendants’

reply in support of its summary judgment motion by 21 days to February 18, 2018. In support of the Motion

Plaintiff states:

         1.         On October 30, 2018, the Court ordered that: (a) Plaintiff to respond to Defendants’ Motion

for Summary Judgment on or before January 14, 2019; and (b) Defendants to reply thereto on or before

January 28, 2019. (Dkt. 49.)

         2.         The collaborative summary judgment procedure set forth in this Court’s standing order led

to a discussion between counsel whereby Defendants acquiesced to Plaintiff filing its Response to

Defendants’ Motion for Summary Judgment on or before January 18, 2019. For its part, Plaintiff has elected

not to file its own Motion for Summary Judgment.

         3.         Accordingly, the parties request that the Court extend by 21 days the filing deadline set

forth in its order of October 30, 2018 to reflect that Defendant’s reply in support of its Motion for Summary

Judgment is due on February 18, 2019.

Dated: January 23, 2019                              Respectfully submitted,

                                                     FLAVA WORKS, INC

                                                         /s Adam S. Tracy
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